                 Case 21-10023-JTD             Doc 431       Filed 02/17/22         Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                        )
In re:                                                  )     Chapter 11
                                                        )
WARDMAN HOTEL OWNER, L.L.C., 1                          )     Case No. 21-10023 (JTD)
                                                        )
                             Debtor.                    )
                                                        )     Re: Docket Nos.: 329 and 373


              AGREED SCHEDULING ORDER REGARDING DEBTOR’S
          OBJECTION TO CLAIM OF AMERICAN ROENTGEN RAY SOCIETY


         Upon the Debtor’s First (Substantive) Omnibus Objection to Disallow Certain Claims

[Docket No. 329] (the “Objection”) and the response filed by American Roentgen Ray Society

[Docket No. 373] filed thereto (the “Response”); and upon agreement of the Debtor and ARRS

on the terms of this order (the “Scheduling Order”); and sufficient cause appearing therefor;

         IT IS HEREBY ORDERED that:

         1.      This Scheduling Order will govern the contested matter pending between the

above captioned debtor (the “Debtor”) and the American Roentgen Ray Society (“ARRS” and

collectively with the Debtor, the “Parties”) related to the Objection.

         2.      The Debtor shall file a reply to the Response on or before February 15, 2022.

         3.      If necessary, a scheduling conference shall be held on February 17, 2022, at 2:00

p.m. (ET), or as otherwise scheduled by the Court.




1
    The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is
    5996 Mitchell Road, #16, Atlanta, GA 30328.


DOCS_DE:238069.1 92203/001
                 Case 21-10023-JTD        Doc 431     Filed 02/17/22      Page 2 of 3




        4.       The Parties shall serve all written discovery requests, whether to the other Party in

this contested matter or third party, by no later than February 25, 2022.

        5.       Responses to written discovery requests shall be provided on or before March 25,

2022.

        6.       The parties shall conclude all depositions, if necessary, by no later than April 8,

2022. The parties shall work in good faith to have witnesses appear voluntarily and without the

need to issue subpoenas to compel appearances.

        7.       The parties may file and serve supplemental briefing by no later than April 15,

2022.

        8.       For avoidance of confusion, pursuant to Rule 9014(c) of the Federal Rules of

Bankruptcy Procedure, the applicable Part VII Rules, as modified by the Local Rules, shall apply

to this contested matter. Nothing contained herein shall preclude a party from filing a dispositive

motion as contemplated by Fed. R. Bankr. P. 9014 and Fed. R. Bankr. P. 7056 at any time, so

long as such motion is filed no earlier than no later than 4:00 p.m. (EST) on April 15, 2022.

        9.       A contested hearing on the Objection shall be held on April 27, 2022, at 1:00 p.m.

(ET), or as otherwise scheduled by the Court.

        10.      Deadlines contained in this Scheduling Order may be extended (i) by written

agreement of the parties, not to be unreasonably withheld, or (ii) by the Court upon written

motion for good cause shown.

        11.      Where any pleading or discovery must be served on the other party to this

contested matter, such service is sufficient if made via email. Following service of any pleading

or discovery request, the serving party shall promptly file a certificate or notice of service with

the Court.




DOCS_DE:238069.1 92203/001
                 Case 21-10023-JTD        Doc 431     Filed 02/17/22     Page 3 of 3




        12.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Scheduling Order.




         Dated: February 17th, 2022                        JOHN T. DORSEY
         Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




DOCS_DE:238069.1 92203/001
